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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION


                                                           CASE NO.
UNITED STATES OF AMERICA                               2:20-cr-00542-RMG


v.
                                                 MOTION FOR DOWNWARD
                                              DEPARTURE FROM GUIDELINES;
                                                 MOTION FOR DOWNWARD
KELSEY JACKSON                                    VARIANCE PURSUANT
                                                TO 18 U.S.C 3553(a) FACTORS;
                                              & SENTENCING MEMORANDUM



        COMES NOW Kelsey Jackson, by and through undersigned Counsel, and

respectfully moves this Court as follows: (1) depart from the applicable Guidelines range

pursuant to §5K2.20, and (2) grant a downward variance from the Guidelines range

pursuant to the 18 U.S.C. §3553(a) factors.

                                   Summary of Facts

        In the wake of the national outrage over the murder of George Floyd by

Minneapolis police officer Derek Chauvin, Kelsey Jackson traveled to downtown

Charleston with his cousin Tearra Guthrie to join the growing protests on the evening of

May 30, 2020. Jackson was not involved with politics, he was not an activist or a person

who had ever participated in a political protest of any kind before May 30. But like many

other Americans, he was uniquely affected by the horrifying images he saw on the

television broadcasts that day. What was a unique and unprecedented moment in

American history was also an unprecedented moment for Kelsey Jackson. He reports

feeling outraged and saddened by the George Floyd video, and he wanted to join the

chorus of voices venting their frustration and calling for reform. But Jackson did not

intend to engage in any violence or destruction of property when he traveled downtown.


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        Jackson and Guthrie arrived downtown at approximately 5:00 p.m. that evening,

and they joined a crowd of protestors who assembled outside of the Emanuel AME

church. Jackson listened to several protestors with megaphones who delivered

impassioned speeches about the injustices they perceived, and the crowd became more

agitated as the evening wore on. Jackson became emotional when he heard these

speeches, and as the crowd of protestors moved south towards Market Street,

confrontations between the group and Charleston Police Department officers began to

flare up. Jackson saw protestors flipping tables on Market Street, taunting the nearby

police officers, and Jackson was surprised to see that the police were not intervening.

Amidst the surreal scene with protestors causing property damage in plain view of nearby

officers, Jackson made the fateful mistake of lighting a shirt with lighter fluid and

throwing it onto the trunk of a vandalized police car. Demonstrating the suspension of his

normal rational thought processes, Jackson broadcast these activities on the internet using

Facebook, and even spoke with a Live5 news reporter about what he had done that

evening. Due to the fact that Jackson made no effort to disguise his identity, he was

quickly apprehended by Charleston police, and he made a full admission of all conduct

alleged in this case. He has never denied responsibility for his actions, and has never

sought to minimize his own culpability, and he comes before this Court ready to accept

full responsibility.

                       Objections to PSR, Guidelines Calculation

        Jackson reiterates his objection to the Presentence Report (“PSR”), which

assigned a 12-level increase to Jackson’s Guidelines calculation based on U.S.S.G.

§3A1.4(a), which applies an enhancement in cases where the conduct at issue “involved,

or was intended to promote, a federal crime of terrorism.” Jackson incorporates by

reference this Court’s recent Order regarding the application of the §3A1.4(a)

enhancement. United States v. Terra Na’Asia Guthrie, 2:20-cr-00541-RMG, Dkt. No.



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24.1 Jackson respectfully submits that there is no basis for distinguishing Jackson’s case

from Guthrie’s with respect to this Guidelines enhancement, and consequently Jackson

requests that this Court sustain his objection to the PSR. As a result, the proper guideline

range is 37-46 months imprisonment, which becomes 60 months due to the statutory

minimum term of imprisonment for violations of 18 U.S.C. §844(i).

I.       Jackson requests that this Court grant a downward departure because the

         conduct at issue in this case constituted a marked deviation from an

         otherwise law-abiding life.

         §5K2.20 authorizes this Court to depart from the Guidelines based upon a finding

that a defendant’s conduct constituted a “single criminal transaction that (1) was

committed without significant planning; (2) was of limited duration; and (3) represents a

marked deviation by the defendant from an otherwise law-abiding life.” A single

occurrence or transaction of aberrant behavior suggests a “spontaneous and seemingly

thoughtless act rather than one which was the result of substantial planning.” United

States v. Glick, 946 F.2d 335, 338 (4th Cir. 1991). The Fourth Circuit has noted that such

conduct may warrant a departure, “because an act which occurs suddenly and is not the

result of a continued reflective process is one for which the defendant may be arguably

less accountable.” Id. As previously noted, Jackson did not plan to commit the acts that

bring him before this Court, his only intention as he joined the group of protestors

downtown was to have his voice heard, and to express his sadness and frustration.

Additionally, Jackson’s conduct was limited in duration, and the most significant act –

placing a flaming shirt onto a disabled and unoccupied patrol car – was completed in a

moment, without any planning or time for meaningful reflection. And, most importantly,

the conduct at issue in this case constitutes a substantial deviation from an otherwise law-

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          It is undisputed that the protests in this case were a response to the death of George Floyd at the
hands of Derek Chauvin. This Court concluded that “[t]he conduct of those officers involved in Mr.
Floyd’s death cannot reasonably be characterized as ‘conduct by the government’” for the purposes of
§3A1.4(a). 2:20-cr-00541 RMG, Dkt. No. 24 pp. 3-4.


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abiding life. Jackson has a negligible criminal history, and has never engaged in conduct

even remotely comparable to these charges. Jackson respectfully submits that his conduct

in this case was “aberrant” pursuant to §5K2.20, and he requests that this Court grant a

downward departure from the Guidelines calculation on this basis.

II.    Jackson requests that this Court grant a downward variance from the

       Guidelines based upon 18 U.S.C. §3553(a) factors, in particular (1) the

       nature and circumstances of the offense, (2) the history and characteristics of

       the defendant, and (3) the need to avoid unwanted sentencing disparities.

       To comply with the four purposes described above, this Court must then consider

the following seven factors identified in 18 U.S.C. § 3553(a)(1)-(7):
               (1) The nature and circumstances of the offense and the
               history and characteristics of the defendant;
               (2) The need for the sentence imposed to reflect the
               seriousness of the offense, to afford adequate deterrence, to
               protect the public, and to provide educational or vocational
               training to the defendant;
               (3) The kinds of sentences available;
               (4) The kind of sentence and the sentencing range
               established pursuant to the U.S. Sentencing Guidelines;
               (5) Any pertinent policy statement issued by the Sentencing
               Commission;
               (6) The need to avoid unwarranted sentence disparities
               among defendants with similar records found guilty of
               similar conduct; and
               (7) The need to provide restitution to any victims of the
               offense.
Consideration of the Guidelines is only “the starting point and the initial benchmark.”

Gall v. United States, 552 U.S. 38, 39 (2007). This Court must make an individualized

assessment based on the facts presented in this case, and may not assume that the

Guidelines range is per se reasonable. Id. at 30.

       The nature and circumstances of this offense – acts that were committed without

planning or forethought in the context of once-in-a-generation civil unrest – calls for a

downward variance in this case. There is significant scientific evidence that demonstrates


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that ordinary people are susceptible to uncharacteristic behaviors when acting as a

member of a large and anonymous group. In such situations, “factors such as anonymity,

group unity, and arousal can weaken personal controls (e.g. guilt, shame, self-evaluating

behavior) by distancing people from their personal identities and reducing their concern

for social evaluation.”2 Additionally, this chaotic and surreal environment “increases

individual sensitivity to the environment and lessens rational forethought, which can lead

to antisocial behavior.”3 Psychologists have regularly observed that people behave

unpredictably and irrationally when they are in a large-group setting:

                 So what can begin as a peaceful protest can rapidly devolve
                 into riots due to group polarization. Group polarization is
                 the tendency of people to make decisions that are more
                 extreme when they are in a group setting as opposed to a
                 decision made alone or independently. This is enhanced by
                 the anonymity factor or deindividuation. This is a concept
                 inherent in groups in which there is a diminishing
                 understanding of one’s sense of individuality. So an
                 individual’s perception of self will decrease making a
                 person more willing to engage in antisocial or violent
                 behavior because they believe they are protected by the
                 group.4
       As previously noted, Jackson live-streamed much of his conduct that evening on

social media, and spoke directly into the camera with his face plainly visible. He spoke to

a reporter at the scene, and his face was shown on camera during the interview. He made

no effort to hide or disguise his identity, and the criminal conduct at issue in this case was

undertaken in plain view of dozens of eyewitnesses. All of this demonstrates the fact that

he was not thinking or behaving in his typical, rational manner. Simply put, Kelsey

Jackson’s conduct during the evening in question was absolutely contrary to his character

       2
          Manstead, ASK; Hewstone, Miles (1996). Blackwell Encyclopedia of Social Psychology.
Oxford, UK: Blackwell. pp. 152–156.
       3
           Encyclopedia of Psychology. Washington, D.C.: American Psychological Association. pp. 374–
377.
         4
             Yasmine Ghattas, Medium.com, “The Psychology Behind                    Riots,”   (2020),
https://medium.com/illumination/the-psychology-behind-riots-4b01530a83f8.


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and his history, and absolutely contrary to the types of behavior one would observe if

these actions were the product of planning and reflection. Jackson is gainfully employed,

he supports two children, and other than this incident he has been a law-abiding and

responsible citizen for most of his adult life. As Jackson’s friends, co-workers, and loved

ones will attest, his conduct during the protest was completely uncharacteristic of his

typical behavior, and this incident could never have happened outside of the unique

circumstances of the May 30 protests.

         As a final matter, Jackson urges this Court to consider the need to avoid unwanted

sentencing disparities. The last 14 months have been extremely tumultuous in various

ways, with civil unrest breaking out in cities all over the country. In some cities, there

have been large-scale riots that have continued regularly without significant law

enforcement pushback. Rioters in Portland Oregon threw explosive devices at the federal

courthouse,5 and used power tools to break through protective barricades that were

erected on the courthouse property.6 Rioters in Seattle took over six city blocks in

downtown Seattle for several weeks, excluding law enforcement from the area, and held

the neighborhood hostage while issuing demands to the local government. 7 A police

precinct in the Seattle occupied area was abandoned, and later vandalized and set on fire.8

There were five shootings in the occupied zone, two of them fatal. 9 And on January 6,

2021, hundreds of rioters stormed the U.S. Capitol in Washington with the clear intent to

         5
                  https://www.oregonlive.com/crime/2020/07/federal-courthouse-door-shattered-fireworks-
exploded-inside-leading-to-arrest-of-19-year-old-complaint-says.html
         6
           https://www.newsweek.com/portland-protestors-use-power-tools-fireworks-courthouse-breach-
attempt-1520464
         7
           Chappell, Bill (July 1, 2020). "Seattle Police Clear Capitol Hill Protest Zone After Mayor Issues
Emergency Order". NPR. Available at: https://www.npr.org/sections/live-updates-protests-for-racial-
justice/2020/07/01/885954675/seattle-police-start-to-clear-capitol-hill-protest-zone-after-mayors-order
         8
           Detectives Need Help Identifying East Precinct Arson Suspect. SPD Blotter. June 12, 2020.
Available     at:     https://spdblotter.seattle.gov/2020/06/12/detectives-need-public-to-help-identify-east-
precinct-arson-suspect/
         9
           Brownstone, Sydney, Shooting at Seattle's CHOP protest site kills one, leaves another in critical
condition". The Seattle Times (June 29, 2020).


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disrupt a session of Congress and overturn a lawful election. The individuals responsible

for these acts in Portland, Seattle, and Washington, if they have been charged with crimes

at all, have often been charged with low-level misdemeanor offenses. 10              11
                                                                                          Jackson takes

full responsibility for his conduct and has been completely cooperative with the

investigation of his actions. We do not make reference to unrelated conduct in other

jurisdictions in order to minimize his conduct and culpability, but rather to point out that

similar (and more egregious) conduct that was very obviously intended to intimidate law

enforcement and interfere with government operations has been treated in a less heavy-

handed manner elsewhere. Jackson respectfully urges this Court to impose a sentence that

accurately reflects the seriousness of this offense, and avoids punishing Jackson in a

manner that is out of proportion to the consequences faced by defendants in other

jurisdictions.

                                               Conclusion

        Based on the foregoing, Jackson respectfully moves this Court to: (1) depart from

the applicable Guidelines range pursuant to §5K2.20, and (2) grant a downward variance

from the Guidelines range pursuant to the 18 U.S.C. §3553(a) factors.


                                                      On this day, July 9, 2021 it is
                                                      RESPECTFULLY SUBMITTED,


                                                      s/Christopher R. Geel
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        10
             https://www.justice.gov/usao-dc/capitol-breach-cases
        11
           See, e.g., Portland rioter Rowan Olsen, who is accused of throwing a mortar explosive device
into the federal courthouse, which detonated in the proximity of several officers. Olsen is charged with
misdemeanor offenses. United States v. Olsen, 3:20-cr-00204 (Dist. Or.).


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